Case 3:02-cr-00245-L        Document 244          Filed 09/08/05      Page 1 of 5      PageID 663



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA,                     )
          Respondent/Plaintiff,               )
vs.                                           )               No. 3:02-CR-0245-H (05)
                                              )               No. 3:05-CV-0308-H
TAMMY LYNN LOPEZ,                             )
ID # 29464-177,                               )
            Movant/Defendant.                 )

                FINDINGS, CONCLUSIONS AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to the provisions of 28 U.S.C. § 636(b), and an Order of the Court in implementa-

tion thereof, subject cause has previously been referred to the United States Magistrate Judge. The

findings, conclusions, and recommendation of the Magistrate Judge are as follows:

                                      I. BACKGROUND

A. Nature of the Case

       Movant, an inmate currently incarcerated in a federal prison facility, filed the instant motion

to vacate pursuant to 28 U.S.C. § 2255. Respondent is the United States of America.

B. Statement of the Case

       On January 8, 2003, movant pled guilty to conspiracy to manufacture and possess with intent

to distribute a controlled substance. On April 10, 2003, the Court sentenced her to imprisonment

for 121 months. On August 5, 2004, the Court denied a previous motion to vacate filed by movant.

On February 11, 2005, the Court received the instant motion to vacate wherein she asserts a claim

based upon Blakely v. Washington, 542 U.S. 296 (2004).
Case 3:02-cr-00245-L           Document 244         Filed 09/08/05       Page 2 of 5      PageID 664



          Because the Court has denied a previous motion to vacate filed by movant under 28 U.S.C.

§ 2255, see Civil Action No. 3:04-CV-0887-H, the Court must determine whether the instant

motion is second or successive within the meaning of § 2255.

                         II. SECOND OR SUCCESSIVE APPLICATION

          The Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. 104-132, 110 Stat. 1214

(AEDPA) limits the circumstances under which a federal prisoner may file a second or successive

motion to vacate in federal court. “[A] subsequent motion is ‘second or successive’ when it: ‘1)

raises a claim challenging the [movant’s] conviction or sentence that was or could have been raised

in an earlier [motion to vacate]; or 2) otherwise constitutes an abuse of the writ.’” United States v.

Orozco-Ramirez, 211 F.3d 862, 867 (5th Cir. 2000) (quoting In re Cain, 137 F.3d 234, 235 (5th Cir.

1998)).

          In this instance, movant has filed a prior motion to vacate to challenge her federal con-

viction. She therein alleged that her conviction was the result of an unlawful search and seizure, the

Court miscalculated the quantity of drugs which should have been attributable to her, and she

received ineffective assistance of trial counsel. Under Orozco-Ramirez, movant was required to

present all available claims related to her conviction in her prior motion to vacate:

          “The requirement that all available claims be presented in a prisoner’s first habeas
          petition is consistent not only with the spirit of AEDPA’s restrictions on second and
          successive habeas petitions, but also with the preexisting abuse of the writ principle.
          The requirement serves the singularly salutary purpose of forcing federal habeas peti-
          tioners to think through all potential post-conviction claims and to consolidate them
          for a unitary presentation to the district court.”

211 F.3d at 870-71 (quoting Pratt v. United States, 129 F.3d 54, 61 (1st Cir. 1997)).




                                                    2
Case 3:02-cr-00245-L        Document 244         Filed 09/08/05      Page 3 of 5      PageID 665



       In this instance, movant relies upon Blakely to again challenge her conviction and sentence.

Movant could have raised such claim, albeit not precisely on the recent case law, when she filed her

first motion to vacate. See In re Elwood, 408 F.3d 211, 212-13 (5th Cir. 2005) (per curiam) (denying

authorization for filing a successive motion to vacate based upon United States v. Booker, ___ U.S.

___, 125 S. Ct. 738 (2005), a Supreme Court decision that extended the rule announced in Apprendi

v. New Jersey, 530 U.S. 466 (2000) and Blakely to the federal sentencing guidelines). Because the

instant action raises a claim that movant could have raised in her earlier motion to vacate the

instant action is successive within the meaning of 28 U.S.C. § 2255.

       Accordingly, movant must “move in the appropriate court of appeals for an order authorizing

the district court to consider the application.” See 28 U.S.C. § 2244(b)(3)(A) (made applicable to

motions to vacate by § 2255). A three-judge panel of the court of appeals must first determine

whether this Court should consider the instant motion. Id. § 2244(b)(3)(B). The panel will author-

ize the filing of a second or successive motion only upon a prima facie showing that the motion is

based on:

       (1) newly discovered evidence that, if proven and viewed in light of the evidence as
       a whole, would be sufficient to establish by clear and convincing evidence that no
       reasonable factfinder would have found the movant guilty of the offense; or

       (2) a new rule of constitutional law, made retroactive to cases on collateral review
       by the Supreme Court, that was previously unavailable.

See id. §§ 2244(b)(3)(C), 2255.

       The Fifth Circuit has not issued an order authorizing this Court to consider the instant suc-

cessive motion to vacate. Movant must obtain such an order before filing the motion in this Court.




                                                 3
Case 3:02-cr-00245-L         Document 244         Filed 09/08/05        Page 4 of 5      PageID 666



        Although the Court may appropriately dismiss the instant successive § 2255 motion without

prejudice pending review by a three-judge panel of the Fifth Circuit Court of Appeals, it may also

transfer the successive motion to the Fifth Circuit for a determination of whether movant should be

allowed to file the successive motion in the district court. See Henderson v. Haro, 282 F.3d 862, 864

(5th Cir. 2002); In re Epps, 127 F.3d 364, 365 (5th Cir. 1997) (approving the practice of transferring

a successive motion to the Circuit and establishing procedures in the Circuit to handle such trans-

fers). Because the Fifth Circuit has already indicated that neither Booker nor Blakely claims satisfy

the criteria for obtaining authorization for filing a successive motion to vacate, see In re Elwood, 408

F.3d at 212-13 (denying authorization for filing a successive motion to vacate based upon Booker

because Booker has not been made retroactively applicable on collateral review and noting that

Blakely has also not been made retroactively applicable on collateral review), a dismissal without

prejudice appears more efficient and better serves the interests of justice than a transfer to the Fifth

Circuit.

                                   III. RECOMMENDATION

        For the foregoing reasons, the undersigned Magistrate Judge hereby recommends that the

instant motion to vacate filed pursuant to 28 U.S.C. § 2255 be DISMISSED without prejudice

pending review by a three-judge panel of the court of appeals.

        SIGNED this 8th day of September, 2005.


                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE




                                                   4
Case 3:02-cr-00245-L         Document 244         Filed 09/08/05       Page 5 of 5      PageID 667



                           INSTRUCTIONS FOR SERVICE AND
                          NOTICE OF RIGHT TO APPEAL/OBJECT

         The United States District Clerk shall serve a copy of these findings, conclusions and recom-
mendation on all parties by mailing a copy to each of them. Pursuant to 28 U.S.C. § 636(b)(1), any
party who desires to object to these findings, conclusions and recommendation must file and serve
written objections within ten days after being served with a copy. A party filing objections must spe-
cifically identify those findings, conclusions or recommendation to which objections are being made.
The District Court need not consider frivolous, conclusory or general objections. Failure to file writ-
ten objections to the proposed findings, conclusions and recommendation within ten days after being
served with a copy shall bar the aggrieved party from appealing the factual findings and legal con-
clusions of the Magistrate Judge that are accepted by the District Court, except upon grounds of
plain error. Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).


                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE




                                                  5
